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        (?BB?7D$EEF;HT)I $EEF;HUEHT,B7?DJ?<<U 8O7D:J>HEK=>KD:;HI?=D;:9EKDI;B 8H?D=I

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-;>78?B?J7J?ED ;DJ;H T($-U EH T ;<;D:7DJ U 7D: );:?97B "79?B?J?;I E< C;H?97 %1 

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;JI;G 17 E:;DD Q  ;JI;G 17 E:;DD Q    7D:J>;9ECCEDB7ME<

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                />?I97I;?DLEBL;I<7BI?<?97J?EDE<C;:?97BH;9EH:I <H7K: M7=;J>;<J 7D:H;J7B?7J?ED

9ECC?JJ;:8O ;<;D:7DJI7=7?DIJM>?IJB;8BEM;H FB7?DJ?<< )I $EEF;H ,B7?DJ?<<>7I;L?:;D9;J>7J

 ;<;D:7DJI J>HEK=>J>;?H7KJ>EH?P;:7=;DJI<7?B;:JEF7O>;HJ>;EL;HJ?C;M7=;II>;;7HD;:

 EH:;H;: >;H JE <7BI?<O 7 F7J?;DJWI C;:?97B H;9EH: JE ?D:?97J; I>; >7: 7:C?D?IJ;H;: >?=>BO

9EDJHEBB;:C;:?97J?EDDEJ;L;DFH;I;DJ?DJ>;<79?B?JOEDJ>;:7J;?DGK;IJ?ED7D:J;HC?D7J;:

>;HM>;DI>;H;<KI;:JE<7BI;BO9;HJ?<OJ>7JH;9EH: 

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                />?I79J?ED7H?I;IKD:;HJ>;"7?H(78EH.J7D:7H:I9JT"(.U 0 .  Q

;JI;G 1?H=?D?7WIM7=;J>;<JIJ7JKJ;17 E:;DD Q  ;JI;G 1?H=?D?7WIM>?IJB;8BEM;H

IJ7JKJ;17 E:;DD Q    7D:J>;9ECCEDB7ME<1?H=?D?7EMC7D9B7?C 

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KD:;H1?H=?D?7IJ7J;B7M8;97KI;J>;O7H;IEH;B7J;:JEJ>;<;:;H7B9B7?CIJ>7JJ>;O<EHCF7HJE<J>;

I7C;97I;EH9EDJHEL;HIO 0 .  Q7 

                1;DK; B?;I ?D J>; 2;IJ;HD ?IJH?9J E< 1?H=?D?7  (OD9>8KH= ?L?I?ED  KD:;H 

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IK8IJ7DJ?7BF7HJE<J>;;L;DJIEHEC?II?EDI=?L?D=H?I;JEJ>;9B7?CE99KHH;:>;H; 

           $%'&

                ,B7?DJ?<< (?BB?7D$EEF;H ?I7D7:KBJ9?J?P;D7D:H;I?:;DJE<J>;ECCEDM;7BJ>E<

1?H=?D?7 




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Case 6:22-cv-00032-NKM-RSB Document 1 Filed 06/02/22 Page 3 of 24 Pageid#: 3




                  ,B7?DJ?<<M7I;CFBEO;:7I7>7H=;*KHI;7J ;<;D:7DJIW<79?B?JOBE97J;:7J

.;C?DEB;L; (OD9>8KH= 1?H=?D?7KDJ?BI>;M7IKDB7M<KBBOJ;HC?D7J;: 

                   ;<;D:7DJ(OD9>8KH=7H;;DJ;H (( ?I71?H=?D?7B?C?J;:B?78?B?JO9ECF7DO

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?JI;B< 7I 7D 7<<?B?7J; EH IK8I?:?7HO E< );:?97B "79?B?J?;I E< C;H?97 7D: ?I <;7JKH;: ED );:?97B

"79?B?J?;I E< C;H?97WI M;8I?J;  MMM C<7 D;J  7J MMM C<7 D;J9;DJ;HBOD9>8KH= >;7BJ>

H;>78?B?J7J?ED 9;DJ;H .;;B34-4> I>EM?D=9EDJH79J8;JM;;D);:?97B"79?B?J?;IE<C;H?97

7D:,B7?DJ?<< 

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1?H=?D?7 B?C?J;: F7HJD;HI>?F :E?D= 8KI?D;II 7I (OD9>8KH= $;7BJ>  -;>78?B?J7J?ED ;DJ;H

(OD9>8KH=%M?J>?JIFH?D9?F7BE<<?9;H;=?IJ;H;:7I,;DD"EH;IJEKB;L7H: . 2 -E7DEA; 

1?H=?D?7  )"WIH;=?IJ;H;:7=;DJ?I);:?97B"79?B?J?;IE<C;H?97 %D9 

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;IJ78B?I>;I C?D?CKC M7=;  EL;HJ?C; F7O  H;9EH: A;;F?D=  7D: ;CFBEOC;DJ IJ7D:7H:I <EH

;CFBEO;;I?DJ>;FH?L7J;I;9JEH7D:?D<;:;H7B IJ7J; 7D:BE97B=EL;HDC;DJ  ;<;D:7DJI7H;IK8@;9J

JEJ>;"(.WIEL;HJ?C;H;GK?H;C;DJI8;97KI;J>;?H7DDK7B=HEIILEBKC;E<I7B;I?IDEJB;IIJ>7D

    )EH;EL;H 7BB TIA?BB;: DKHI?D= <79?B?J?;I  DKHI?D= <79?B?J?;I  7II?IJ;: B?L?D= <79?B?J?;I 

H;I?:;DJ?7B 97H; <79?B?J?;I 7D: ?DJ;HC;:?7J; 97H; <79?B?J?;I <EH ?DJ;BB;9JK7BBO 7D: :;L;BEFC;DJ7BBO

:?I78B;: ?D:?L?:K7BI CKIJ 9ECFBO M?J> J>;C?D?CKC M7=; EL;HJ?C;7D:OEKJ> ;CFBEOC;DJ



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Case 6:22-cv-00032-NKM-RSB Document 1 Filed 06/02/22 Page 4 of 24 Pageid#: 4




H;GK?H;C;DJIE<J>;"(. U +("79J.>;;JS/>;$;7BJ>7H;%D:KIJHO7D:7B9KB7J?D=

+L;HJ?C;,7OB34-4> 

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EL;HJ?C;F7O<EH7BB>EKHIMEHA;:EL;H>EKHI?D7MEHAM;;A7J7H7J;DEJB;IIJ>7DJ?C;7D:

ED; >7B< J>;?HH;=KB7HH7J;E<F7OJ>7JM;;A 

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97B9KB7J?EDJ>7JJ7A;I?DJE799EKDJDEJEDBOJ>;;CFBEO;;WIIJ7D:7H:>EKHBOH7J; 8KJ7BIE7BBI>?<J

:?<<;H;DJ?7BI  ?D9;DJ?L;I  7D: 8EDKI 9ECF;DI7J?ED 7JJH?8KJ;: JE 7DO MEHAM;;A ?D M>?9> J>;

;CFBEO;;MEHA;:CEH;J>7D>EKHI .;;B34-4> 

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    ?L?I?ED:KH?D=?DL;IJ?=7J?EDI?DJ>;>;7BJ>97H;?D:KIJHOH;B7J?D=JEJ>;97B9KB7J?EDE<EL;HJ?C;

F7O UJ>; +(FK8B?I>;:"79J.>;;J M>?9>FHEL?:;IIF;9?<?9?DIJHK9J?EDIEDT/>;$;7BJ>7H;

%D:KIJHO7D:7B9KB7J?D=+L;HJ?C;,7OUJE>;BF>;7BJ>97H;<79?B?J?;I9ECFBOM?J>J>;"(.7D:

7LE?:L?EB7J?EDI .;;?: 

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IK9>7I)I $EEF;H8;97B9KB7J;:KI?D=J>;<EBBEM?D=C;J>E:EBE=O

                 7 *ED :?I9H;J?ED7HO8EDKI;I IK9>7IH;J;DJ?ED8EDKI;I7D:7JJ;D:7D9;

                 8EDKI;I  CKIJ 8; ?D9BK:;: ?D J>; ;CFBEO;;WI H;=KB7H H7J; E< F7O <EH 7DO

                 M;;A?DM>?9>J>;O7H;7JJH?8KJ;: -;J;DJ?ED8EDKI;I7H;E<J;DF7?:EL;H

                 I;L;H7BCEDJ>I ?DM>?9>97I; J>;7CEKDJE<J>;8EDKI?I:?L?:;:8OJ>;




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           DKC8;HE<M;;AIEL;HM>?9>?J?IF7?:JE:;J;HC?D;J>;7CEKDJ7JJH?8KJ;:

           JE;79>M;;A:KH?D=J>7JF;H?E: 

           8     .KFFB;C;DJ7BI>?<J8EDKI;II>?<J:?<<;H;DJ?7BICKIJ8;?D9BK:;:?DJ>;

           ;CFBEO;;WIH;=KB7HH7J;E<F7O<EH7DOM;;A?DM>?9>J>;O7H;F7?:

           9      /E97B9KB7J;7D;CFBEO;;WIH;=KB7HH7J;E<F7O;79>M;;A 8;=?D8O

           CKBJ?FBO?D=J>;DKC8;HE<>EKHIMEHA;:7J;79>>EKHBOH7J;E<F7O8OJ>;

           >EKHBOH7J;E<J>7J97J;=EHO "EH;N7CFB; ?<7DKHI;MEHA;:>EKHI7J

           >H >EKHI7J>H 7D:>EKHI7J>H I>;;7HDIN

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           :      />;D7::7DOH;J;DJ?EDEH7JJ;D:7D9;8EDKI;I7JJH?8KJ;:JEJ>7JM;;A

           JEJ>?IJEJ7B %<J>?IDKHI;;7HD;:7 8EDKIF7?:EL;HM;;AI J>;D

                  E< J>?I 8EDKI ?I 7JJH?8KJ;: JE J>?I 7D: ;L;HO EJ>;H

           MEHAM;;A:KH?D=J>7JIF7DE<J?C; )EH;EL;H ?<J>?IDKHI;MEHA;:JME

           7::?J?ED7BI>?<JIJ>7JM;;A7D:;7HD;:78EDKI<EH;79>I>?<J J>;D7::

                NJEJ>?IJEJ7B

           ;     /E97B9KB7J;J>;JEJ7B87I;M7=; 7::7BB7CEKDJI97B9KB7J;:KD:;HIJ;FI

           97D:: $;H; J>;>9>,6-,=0A,200;?,6=            

           <     /E97B9KB7J;J>;DKHI;WIH;=KB7HH7J;E<F7O :?L?:;J>;JEJ7B87I;M7=;

           8OJ>;JEJ7BDKC8;HE<>EKHIMEHA;:J>7JM;;A %DJ>;FH;L?EKI;N7CFB; 

           J>;DKHI;MEHA;:7JEJ7BE<>EKHI   IEED;MEKB::?L?:;

           J>;JEJ7B87I;M7=;E< 8OJ>;>EKHIMEHA;:J>7JM;;A />?IO?;B:I




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                7H;=KB7HH7J;E<F7OE< SD;7HBO>?=>;HJ>7DJ>;>?=>;IJI>?<J

                :?<<;H;DJ?7BM7=;I>;;7HD;::KH?D=J>?IF;H?E:

                = "EHJ>;<?L;>EKHIMEHA;:?D;N9;IIE<J>?IM;;A J>;DKHI;?DJ>;

                78EL;;N7CFB;MEKB:8;F7?:>H N  DEJ>H 7IMEKB:

                >7L;8;;DJ>;97I;>7:J>;;CFBEO;HC;H;BOCKBJ?FB?;:>;HBEM;IJ>EKHBO

                M7=;E<>H8O  

             0D:;H Q 8 E< J>; "(.  TDO ;CFBEO;H M>E L?EB7J;I J>; FHEL?I?EDI E< R

I;9J?EDE<J>?IJ?JB;49ED9;HD?D=EL;HJ?C;M7=;I5I>7BB8;B?78B;JEJ>;;CFBEO;;EH;CFBEO;;I

7<<;9J;:?DJ>;7CEKDJE<J>;?HKDF7?:C?D?CKCM7=;IR7D:?D7D7::?J?ED7B;GK7B7CEKDJ7I

B?GK?:7J;::7C7=;IU?D7::?J?EDJE7JJEHD;O<;;I7D:9EIJI 

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;CFBEO;; ?D 799EH:7D9; M?J> J>?I I;9J?ED EH Q      J>; ;CFBEO;; C7O 8H?D= 7D 79J?ED 

?D:?L?:K7BBOR7=7?DIJJ>;;CFBEO;H?D79EKHJE<9ECF;J;DJ@KH?I:?9J?EDJEH;9EL;HF7OC;DJE<

J>;M7=;I 7D:J>;9EKHJI>7BB7M7H:J>;M7=;IEM;: 7D7::?J?ED7B;GK7B7CEKDJ7IB?GK?:7J;:

:7C7=;I  FBKI FH;@K:=C;DJ ?DJ;H;IJ J>;H;ED 7I FHEL?:;: ?D IK8I;9J?ED # 45  7D: H;7IED78B;

7JJEHD;O<;;I7D:9EIJI U

             )EH;EL;H T4?5<J>;9EKHJ<?D:IJ>7JJ>;;CFBEO;HADEM?D=BO<7?B;:JEF7OM7=;IJE

7D;CFBEO;;?D799EH:7D9;M?J>J>?II;9J?EDEHQ    J>;9EKHJI>7BB7M7H:J>;;CFBEO;;7D

7CEKDJ;GK7BJEJH?FB;J>;7CEKDJE<M7=;I:K;7D:H;7IED78B;7JJEHD;O<;;I7D:9EIJI U%: T45

F;HIED79JIVADEM?D=BOW?<J>;F;HIED M?J>H;IF;9JJE?D<EHC7J?ED ?>7I79JK7BADEMB;:=;E<J>;

?D<EHC7J?ED ??79JI?D:;B?8;H7J;?=DEH7D9;E<J>;JHKJ>EH<7BI?JOE<J>;?D<EHC7J?ED EH???79JI

?DH;9AB;II:?IH;=7H:E<J>;JHKJ>EH<7BI?JOE<J>;?D<EHC7J?ED 17 E:;DD Q  ' 



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Case 6:22-cv-00032-NKM-RSB Document 1 Filed 06/02/22 Page 7 of 24 Pageid#: 7




             !IJ78B?I>?D=J>7J7F;HIED79J;:ADEM?D=BOI>7BBDEJH;GK?H;FHEE<E<IF;9?<?9?DJ;DJ

JE:;<H7K: U%: 

     )4<2484,I=*34=>60-69A0<&>,>?>0),9/0E    

             0D:;H 17  E:; Q      T475D ;CFBEO;H I>7BB DEJ :?I9>7H=;  :?I9?FB?D; 

J>H;7J;D :?I9H?C?D7J;7=7?DIJ EHF;D7B?P;7D;CFBEO;; EHJ7A;EJ>;HH;J7B?7JEHO79J?EDH;=7H:?D=

7D;CFBEO;;I9ECF;DI7J?ED J;HCI 9ED:?J?EDI BE97J?ED EHFH?L?B;=;IE<;CFBEOC;DJ 8;97KI;

J>;;CFBEO;;4E5H7F;HIED79J?D=ED8;>7B<E<J>;;CFBEO;;?D=EE:<7?J>H;FEHJI7L?EB7J?EDE<

7DO<;:;H7BEHIJ7J;B7MEHH;=KB7J?EDJE7IKF;HL?IEHR4EH54H5;<KI;IJE;D=7=;?D79H?C?D7B79J

J>7JMEKB:IK8@;9JJ>;;CFBEO;;JE9H?C?D7BB?78?B?JO U

             0D:;H17 E:;Q    TF;HIEDM>E7BB;=;I7L?EB7J?EDE<J>?II;9J?ED

C7O8H?D=79?L?B79J?ED?D79EKHJE<9ECF;J;DJ@KH?I:?9J?EDM?J>?DED;O;7HE<J>;;CFBEO;HI

FHE>?8?J;:H;J7B?7JEHO79J?ED />;9EKHJC7OEH:;H7I7H;C;:OJEJ>;;CFBEO;;?7D?D@KD9J?ED

JEH;IJH7?D9EDJ?DK;:L?EB7J?EDE<J>?II;9J?ED ??J>;H;?DIJ7J;C;DJE<J>;;CFBEO;;JEJ>;I7C;

FEI?J?ED>;B:8;<EH;J>;H;J7B?7JEHO79J?EDEHJE7D;GK?L7B;DJFEI?J?ED 7D:???9ECF;DI7J?ED<EH

BEIJM7=;I 8;D;<?JI 7D:EJ>;HH;CKD;H7J?ED JE=;J>;HM?J>?DJ;H;IJJ>;H;ED 7IM;BB7IH;7IED78B;

7JJEHD;O<;;I7D:9EIJI 

     0/0<,6&>,>0<4748,6 ,A=9@0<8482,6=414.,>49891$,>408>!0/4.,6%0.9</=

             0D:;H 17  E:; Q      <7BI?<O?D= F7J?;DJ C;:?97B H;9EH:I ?I 7 9H?C; ?D

1?H=?D?7 TDOF;HIEDM>E M?J>J>;?DJ;DJJE:;<H7K: <7BI?<?;I7DOF7J?;DJH;9EH:I>7BB8;=K?BJO

E<7B7IIC?I:;C;7DEH U 

             0D:;H17 E:;QQ    9EDIF?H?D=EH7JJ;CFJ?D=JE9ECC?J79H?C?D7B

E<<;DI;?I79H?C;?D1?H=?D?7 




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             0D:;H17 E:;Q   C7A?D=<7BI;IJ7J;C;DJIEHC?IH;FH;I;DJ7J?EDIJEJ>;

=EL;HDC;DJEHJ>;.J7J;E7H:E<$;7BJ>JEH;9;?L;8;D;<?JI<HEC=EL;HDC;DJFHE=H7CI<EHM>?9>

ED;?IDEJ;B?=?8B;?IB7H9;DO?D1?H=?D?7 

             0D:;H  0 .   Q    >;7BJ> 97H; <H7K: ?I 7 <;:;H7B E<<;DI;  7I ?I

9EDIF?H79OEH7JJ;CFJJE9ECC?J>;7BJ>97H;<H7K:JEH;9;?L; 8O<7BI;FH;J;DI;I H;FH;I;DJ7J?EDI 

EHFHEC?I;I 7DOCED;OEHFHEF;HJO<HEC7=EL;HDC;DJ>;7BJ>97H;FHE=H7C<EHM>?9>ED;MEKB:

DEJ 78I;DJJ>;C?IH;FH;I;DJ7J?ED 8;;B?=?8B; 

      *<9821?64=.3,<20?8/0<)4<2484,97798 ,A9A7,86,47

             %D1?H=?D?7 J>;7J M?BB;CFBEOC;DJ:E9JH?D;?IDEJ78IEBKJ; +D;;N9;FJ?ED?IJ>;

TFK8B?9FEB?9O;N9;FJ?ED U9ECCEDBOH;<;HH;:JE7I7TEMC7D9B7?C U

             /E IK99;;: ED 7 EMC7D 9B7?C  J>; ;CFBEO;; CKIJ I>EM J>7J J>; IJ7JKJ; <7BBI

M?J>?DED;E<JME97J;=EH?;IJ>;IJ7JKJ;;NFB?9?JBOIJ7J;IJ>7J?J;NFH;II;I7FK8B?9FEB?9OE<

1?H=?D?7EH J>;T<7HCEH;9ECCED97J;=EHO UJ>;IJ7JKJ;?I:;I?=D;:JEFHEJ;9JJ>;FHEF;HJO

H?=>JI F;HIED7B<H;;:ECI >;7BJ> I7<;JO EHM;B<7H;E<J>;FK8B?97D:J>;;CFBEO;HL?EB7J;:J>7J

FK8B?9FEB?9O7D:MHED=<KBBO:?I9>7H=;:J>;;CFBEO;;<EHF;H<EHC?D=7:KJOKD:;HJ>7JIJ7JKJ;EH

<EHH;<KI?D=JE;D=7=;?D?JIL?EB7J?ED D:;HIEDL %//%D:KI EHF " .KFF : 

!    17 >EB:?D=J>7JFB7?DJ?<<IJ7J;:7L7B?:EMC7D9B7?CM>;D>;7BB;=;:J>7J;CFBEO;H

J;HC?D7J;:>?C<EHH;<KI?D=JE9ECC?JJ>;9H?C;E<<EH=;HO 

             />; :?I9>7H=;: ;CFBEO;; CKIJ 7BIE I>EM J>7J >; EH I>; ?I M?J>?D J>; 9B7II E<

F;HIEDIJ>;IJ7JKJ;?I:;I?=D;:JEFHEJ;9J />?IC7O8;799ECFB?I>;:8OI>EM?D=J>7JJ>;;CFBEO;;

>7I7:KJOKD:;HJ>;IJ7JKJ; F;HIEDD;;:DEJ8;7L?9J?CE<J>;IJ7JKJEHOL?EB7J?EDJE<7BBM?J>?D

J>;IJ7JKJ;WIFHEJ;9J?L;H;79> -7J>;H ?D1?H=?D?7 ?J?IM;BBI;JJB;:J>7J7IJ7JKJ;IFHEJ;9J?L;H;79>




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Case 6:22-cv-00032-NKM-RSB Document 1 Filed 06/02/22 Page 9 of 24 Pageid#: 9




;NJ;D:IT8;OED:J>;9B7IIE<F;HIEDIM>E7H;L?9J?CIE<?JIL?EB7J?ED %D:;;: 7IJ7JKJ;IFHEJ;9J?L;

H;79>C7O;NJ;D:JEJ>EI;M>E>7L;7B;=7B:KJOKD:;HJ>7JIJ7JKJ; UD:;HIED " .KFF 7J 

              0D:;H1?H=?D?7B7M J;HC?D7J?D=7D;CFBEO;;<EHH;<KI?D=JE;D=7=;?D79H?C?D7B

79J ?I 7 J;NJ8EEA EMC7D 9B7?C   %:  7J  >EB:?D= J>7J 7 FB7?DJ?<< TIJ7J;I 7 L7B?: EMC7D

MHED=<KB:?I9>7H=;9B7?CM>;H; 7I>;H; >;7BB;=;IJ>7J>?I;CFBEO;H<?H;:>?C<EHH;<KI?D=JE

;D=7=;?DIJ7JKJEH?BOFHE>?8?J;:9ED:K9JU 

              D;CFBEO;;7BB;=?D=7L7B?:EMC7D9B7?C?I;DJ?JB;:JE8EJ>9ECF;DI7JEHO7D:

FKD?J?L;:7C7=;I 

    )        &''!"'#'&

              ,B7?DJ?<< )I $EEF;H ?I7>7H=;*KHI;M>EM7I;CFBEO;:7J($-

              )I $EEF;HH;9;?L;:>;H(,*B?9;DI;ED7D:>7IO;7HIE<;NF;H?;D9;

MEHA?D=?DJ>;>;7BJ>97H;<?;B: 

              )I $EEF;H?I79ECF7II?ED7J;DKHI; ADEMD<EH>;HA?D:D;II IJHED=MEHA;J>?9

?DJ;=H?JO 7D:FHE<;II?ED7B?IC )I $EEF;H>7ID;L;H>7:7DOD;=7J?L;F;H<EHC7D9;;L7BK7J?EDI

TMH?J; KFIUFH?EHJE>;HIK::;D KDB7M<KBJ;HC?D7J?ED<HEC($- 

                                        $<49<&0<@4.0,> %

              )I $EEF;H>7IMEHA;:<EH($-:KH?D=I;L;H7BF;H?E:IEL;HJ>;F7IJI;L;DO;7HI

:7J?D=879AJE 

              !79> FH;L?EKI J?C; )I  $EEF;H B;<J ($-  ?J M7I 7 LEBKDJ7HO :;F7HJKH; 7I 7

C;C8;HE<7B7H=;;NE:KIE<;CFBEO;;I:?II7J?I<?;:M?J>>EM($-M7I8;?D=EF;H7J;: 

              !79>J?C;)I $EEF;HH;JKHD;:JE($- ?JM7I7I7H;IKBJE<8;?D=>?=>BOIEK=>J

7<J;H8O($-WITD;MC7D7=;C;DJUM>?9>FHEC?I;:)I $EEF;HSM>EC($-L7BK;:7I7




                                                     
Case 6:22-cv-00032-NKM-RSB Document 1 Filed 06/02/22 Page 10 of 24 Pageid#: 10




 >7H: MEHA?D=CE:;B;CFBEO;;SJ>;O>7:T<?N;:U7BBFH?EH?IIK;I 2>;DJ>7JFHEL;:KDJHK; )I 

 $EEF;HMEKB:LEBKDJ7H?BOB;7L;7=7?D7D:J>;9O9B;MEKB:H;F;7J?JI;B< 

                     %I=%0.<?4>708>119<>=>98.08>4@4D0!=99:0<>9%0>?<8

               +DEH78EKJ)7H9>  )I $EEF;HED9;7=7?DH;JKHD;:JE($-7I7>7H=;

 *KHI; 

               ,H?EH JE H;JKHD?D=  )I  $EEF;H >7: 8;;D >7FF?BO ;CFBEO;: 8O KJKCD 7H; E<

 BJ7L?IJ7 

               KJKCD 7H; B?A; ($- 9EDI?:;H;: )I  $EEF;H 7 >7H: MEHA?D=  CE:;B

 ;CFBEO;; %D<79J )I $EEF;HM7IIE>?=>BOIEK=>J 7<J;HJ>7JKJKCD7H;7D:($-;D=7=;:

 ?D7  8?::?D=M7HJEH;J7?D)I $EEF;HWII;HL?9;I 

               0BJ?C7J;BO )I $EEF;HSF;HIK7:;:8O($-WIF;HI?IJ;D9; H;9HK?JC;DJ;<<EHJI

 <?D7D9?7B ?D9;DJ?L;I  I?=D?D= 8EDKI;I  7D: H;D;M;: <7BI; FHEC?I;I E< 8;JJ;H C7D7=;C;DJ S B;<J

 KJKCD7H;7D:H;@E?D;:($- 

                                    9-'4>60,8/%0=:98=4-464>40=

               )I $EEF;HH;JKHD;:JEMEHA7J($-7I7>7H=;*KHI;KD:;HJ>;IKF;HL?I?EDE<

 -;8;997';?J>T)I ';?J>U J>; ?H;9JEHE<*KHI?D=T +*U 7D:(?D:7)?B;IT)I )?B;IU 

 J>;EHFEH7J;*KHI; 

               EJ>)I ';?J>7D:)I )?B;IM;H;D;M7::?J?EDIJE($-7D:M;H;DEJ;CFBEO;:

 8O ;<;D:7DJI7JJ>?I<79?B?JOM>;D)I $EEF;H>7:MEHA;:J>;H;?DJ>;F7IJ 

               I7>7H=;*KHI; )I $EEF;HWI@E8:KJ?;I?D9BK:;:IKF;HL?I?D=;HJ?<?;:*KHI?D=

 II?IJ7DJIT*IU JH;7J?D=MEKD:I 7:C?D?IJ;H?D=C;:?97J?ED 7D:7II?IJ?D=*I 7ID;;:;: 

               )I $EEF;H B?A;7BB($->7H=;*KHI;I M7I7II?=D;:7IF;9?<?9<BEEH7D:B?IJE<

 F7J?;DJI<EHHEKD:I 



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Case 6:22-cv-00032-NKM-RSB Document 1 Filed 06/02/22 Page 11 of 24 Pageid#: 11




     %?8/0<&>,>08@0=>42,>498%0:0,>4>,>498=19<)496,>498=91 ,A,.48269=?<0

              2>;D)I $EEF;H8;=7DMEHAEDEH78EKJ)7H9>  7BB7FF;7H;:<?D; )I 

 ';?J>H;FH;I;DJ;:J>7JJ>;<79?B?JOM7IT:E?D=M;BBU7D:H;<E9KI?D=?JI;<<EHJIEDF7J?;DJ97H; 

              %J:?:DEJJ7A;BED=<EH)I $EEF;HJEB;7HDJ>;JHKJ>($->7:8;;DH;F;7J;:BO

 9?J;:8OJ>;IJ7J;<EHL?EB7J?EDI7D:M7I<79?D=9BEIKH;?<C7D7=;C;DJ:?:DEJGK?9ABO8H?D=J>;

 <79?B?JO?DJE9ECFB?7D9;M?J>7FFB?978B;IJ7J;B7MI=EL;HD?D=H;>78?B?J7J?ED 7II?IJ;:B?L?D= 7D:EH

 DKHI?D=<79?B?J?;I 

              8EKJ 7 M;;A ?DJE >;H CEIJ H;9;DJ J;DKH;  )I  $EEF;H B;7HD;: J>7J ($- M7I

 KD:;H?DL;IJ?=7J?ED8;97KI;?J>7:<7?B;:IJ7J;?DIF;9J?EDEDL7H?EKI=HEKD:I 

              />EI;=HEKD:I?D9BK:;:<7?BKH;JE78?:;8O9E:;H;=KB7J?EDIH;B7J;:JEF7J?;DJ97H; 

 <EE:I;HL?9;I <H7K:KB;DJI?=D E<<IEDC;:?97J?EDDEJFH;I;DJ7JJ>;<79?B?JO ;J9 

              )I $EEF;HM7IJEB:8O ;<;D:7DJIJ>7J($-M7I=?L;DTED;B7IJ9>7D9;U8OJ>;

 IJ7J;JE8H?D=J>;<79?B?JO?DJEB;=7B9ECFB?7D9; %<($-<7?B;:JE:EIE ?JMEKB:>7L;JE9;7I;

 EF;H7J?EDI7D:T;L79K7J;UJ>;<79?B?JO8O)7O  ($->7:9EDL;D?;DJBOM?J>>;B:J>?I

 ?D<EHC7J?ED<HEC)I $EEF;HM>;D($-M7I9EKHJ?D=>;HJEB;7L;>;HFH;L?EKI;CFBEO;H 

            %,.4,648=08=4>4@4>CG969<0/:09:60,<0?8<?6CH,8/GI66=8,>.3C9?<64.08=0H

              *EJEDBOM7IJ>;<79?B?JOKD:;HJ>H;7JE<BEI?D=?JIB?9;DI;7D:8;?D=?CC?D;DJBO

 I>KJ :EMD 8O J>; IJ7J;  8KJ KD:;H )I  ';?J>WI 7D: )I  )?B;IWI D;M C7D7=;C;DJ  J>; MEHA

 ;DL?HEDC;DJ7J($->7:8;9EC;EL;HJBOH79?IJ7D:>EIJ?B; 

              FFHEN?C7J;BO <EKH :7OI FH?EH JE )I  $EEF;HWI IK::;D J;HC?D7J?ED  EHFEH7J;

 *KHI;)?B;IIJ7J;:EF;DBOM>?B;M7BA?D=F7IJ)I $EEF;H TEBEH;:F;EFB;7H;KDHKBO U*KHI;

 )?B;IJ>;D97IK7BBO9EDJ?DK;::EMDJ>;>7BB7I?<J>;EKJH7=;EKIBOH79?IJIJ7J;C;DJI>;>7:KJJ;H;:

 M7IIEI;B< ;L?:;DJ?J:?:DEJH;GK?H;;B78EH7J?EDEH<KHJ>;H9ECC;DJ 



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 
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             ,B7?DJ?<<)I $EEF;H?I<H?97DC;H?97D )I )?B;I7D:)I ';?J>7H;7K97I?7D 

             %J?IKD9B;7HM>;J>;H*KHI;)?B;IM7I:?H;9J?D=J>?I9ECC;DJJEM7H:)I $EEF;H 

 IF;9?<?97BBO EH<H?97DC;H?97DI =;D;H7BBO 

             )I  ';?J> M>E KI;I LKB=7H B7D=K7=; 7D: E<J;D :?H;9JI FHE<7D?JO 7J <H?97D

 C;H?97D;CFBEO;;I7D:)I )?B;IJ7= J;7C;:JE?DJ?C?:7J;DKHI?D=IJ7<< ?D9BK:?D=)I $EEF;H 

 8OHEKJ?D;BOJ>H;7J;D?D=JEJ7A;J>;?HB?9;DI;I7M7O 

             DOJ?C;7DKHI;MEKB::?I7=H;;M?J>EHIECK9>7IGK;IJ?ED)I ';?J> I>;MEKB:

 H;C?D:J>;DKHI;>;EHI>;8;JJ;H9ECFBOEHGI66=8,>.3C9?<64.08=0H

             2>;D;L;H)I ';?J>H;9;?L;:7DOFKI>879A<HEC7DODKHI; ?D9BK:?D=<HEC)I 

 $EEF;H )I ';?J>MEKB:IJ7J;G+9?<64.08=04=:<0.49?=I7><C482>9306:C9?500:4>

 98I>7,5070>,50>3,>64.08=0,A,CH

             !L;D<EHIEC;J>?D=7II?CFB;7I7DKHI;DEJ8;?D=78B;JEMEHAED7F7HJ?9KB7H:7O 

 )I ';?J>S7M7H;J>7JJ>;<79?B?JOM7IKD:;HIJ7<<;:SMEKB:9E;H9;I7?:DKHI;?DJEH;FEHJ?D=<EH

 MEHA8OJ>H;7J;D?D=JETID7J9>U>;HB?9;DI; 

           07,8/>9,6=41C!0/4.,6%0.9</=$6,48>411I=%01?=,68=>,8>'0<748,>498

             +DEH78EKJ.KD:7O FH?B  7<J;HMEHA?D=7D 39?<A005 )I $EEF;H

 SKJJ;HBO;N>7KIJ;:<HECEL;HMEHAS<?D7BBOM;DJ>EC;JEIB;;F 

             )I $EEF;HIB;FJJ>HEK=>J>;D;NJ:7O7D:M7I7M7A;D;:EDEH78EKJ/K;I:7O 

 FH?B  8OJ>;F>ED;H?D=?D=7J7FFHEN?C7J;BO7 C J>7JCEHD?D= 

             2>;D)I $EEF;H7DIM;H;: )I ';?J>M7IEDJ>;B?D;I9H;7C?D=>OIJ;H?97BBO7J

 )I $EEF;H 

             )I ';?J>I9H;7C;:J>7J)I $EEF;HWITM>EB;<BEEHUM;DJTM?J>EKJC;:?97J?EDU

 7D:M7IT?DJ>;H;: U



                                                   
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Case 6:22-cv-00032-NKM-RSB Document 1 Filed 06/02/22 Page 13 of 24 Pageid#: 13




             J ($-  7 F7J?;DJ M>E ?I T?D J>; H;:U ?I ED; M>E :?: DEJ H;9;?L; >?I EH >;H

 C;:?97J?ED 2>;DJ>?IE99KHI J>;F7J?;DJWIH;9EH:?DJ>;IOIJ;C?I<B7==;: ? ; ?I>?=>B?=>J;:H;: 

 JE?D:?97J;J>;F7J?;DJ>7IDEJH;9;?L;:>?IEH>;HC;:?97J?ED7II9>;:KB;: /EH;CEL;J>;H;:<B7= 

 J>;DKHI;M>E7:C?D?IJ;HIJ>;C;:?97J?EDJEJ>;F7J?;DJ>7IJEBE=?DJEJ>;);:?97B:C?D?IJH7J?ED

 -;9EH:T)-UM?J>>?IEH>;HKD?GK;BE=?D9H;:;DJ?7BI7D:L;H?<OJ>7J>;EHI>;=7L;J>;F7J?;DJ

 J>;:;I?=D7J;:C;:?97J?ED7JJ>;I9>;:KB;:J?C; %D:E?D=IE J>;DKHI;9;HJ?<?;I7D:I?=DIE<<ED

 J>;F7J?;DJWIH;9EH:?DJ>;)- 

             2>;DC;:?97J?ED?IDEJ7:C?D?IJ;H;:7II9>;:KB;: 7DKHI;97DDEJI?=DE<<EDJ>;

 C;:?97BH;9EH:7D:?D:?97J;EJ>;HM?I;JETH;CEL;J>;H;:UM?J>EKJ9ECC?JJ?D=<H7K: 

             $OIJ;H?97B :KH?D= J>; F>ED; 97BB  )I  ';?J> EH:;H;: )I  $EEF;H JE 9EC; 879A

 ?CC;:?7J;BOJET<?NJ>;H;: U

             )I $EEF;HH;IFED:;:J>7JEDBOED;F7J?;DJDEJJ>;M>EB;<BEEHM7IT?DJ>;H;: U

 )I $EEF;H;NFB7?D;:J>7JJ>;H;7IEDJ>7JF7HJ?9KB7HF7J?;DJM7I?DJ>;H;:?I8;97KI;J>7JF7J?;DJWI

 C;:?97J?EDM7IED879AEH:;H7D:DEJ;L;D?DJ>;<79?B?JO 

             )I  $EEF;H ;NFB7?D;: I>; >7: DEJ I?=D;: E<< ED J>7J F7J?;DJWI C;:?97B H;9EH:

 8;97KI;I>;:?:DEJS7D: DEJS7:C?D?IJ;HC;:?97J?EDJ>7JM7IDEJ?DJ>;8K?B:?D= 

             "EBBEM?D=J>?I9EDL;HI7J?ED )I $EEF;H97BB;:79EBB;7=K;MEHA?D=7JJ>;<79?B?JO

 JEL;H?<OJ>7JEDBOED;F7J?;DJSDEJJ>;M>EB;<BEEHSM7I?DJ>;H;: />7J9EBB;7=K;9>;9A;:J>;

 9ECFKJ;HIOIJ;C7D:9ED<?HC;:J>;TM>EB;<BEEHUM7IDEJ?DJ>;H;:8KJ H7J>;H @KIJJ>;ED;F7J?;DJ

 M>EI;C;:?97J?EDM7IED879AEH:;H 

             .>EHJBO7<J;HL;H?<O?D=J>7J )I ';?J>7D:)I )?B;I97BB;:)I $EEF;HJE7=7?D

 EH:;H>;HJE9EC;879A?CC;:?7J;BO7D:9>7D=;J>;F7J?;DJWIC;:?97BH;9EH:IEJ>7J($-MEKB:

 DEJ=;J?D;L;D<KHJ>;HJHEK8B;M?J>J>;IJ7J;<EHDEJ7:C?D?IJ;H?D=C;:?97J?EDEDJ?C; 



                                                    
 
Case 6:22-cv-00032-NKM-RSB Document 1 Filed 06/02/22 Page 14 of 24 Pageid#: 14




               )I ';?J>:;C7D:;:)I $EEF;HH;JKHD BE=?DJEJ>;)-M?J>>;H9H;:;DJ?7BI

 7D:<7BI?<OJ>7JF7J?;DJWIH;9EH:JEC7A;?J7FF;7H7IJ>EK=>)I $EEF;H>7:=?L;DJ>;F7J?;DJJ>?I

 KD7L7?B78B;C;:?97J?EDM>;D ?D<79J I>;>7:DEJ7D:9EKB:DEJ8;97KI;?JM7IDEJ7L7?B78B; 

               )I  ';?J> 7D: )I  )?B;I >7: FH;L?EKIBO 9>7IJ?I;: )I  $EEF;H M>;D I>; >7:

 799KH7J;BO?D:?97J;:?DF7J?;DJH;9EH:IJ>7JC;:?97J?EDM7IKD7L7?B78B;8;97KI;J>;O:?:DEJM7DJ

 J>;<79?B?JOJE=;J9?J;:8OJ>;IJ7J;<EHDEJ7:C?D?IJ;H?D=C;:?97J?ED?D7J?C;BOC7DD;H 

               />?I?DIJHK9J?ED8OC7D7=;C;DJJE9ED9;7BJ>;KD7L7?B78?B?JOE<C;:?97J?ED8ODEJ

 DEJ?D=?J?DJ>;)-M7I7IJ7D:?D=EH:;H7JJ>;<79?B?JO 

               )I ';?J>:?:DEJ:;C7D:J>7J)I $EEF;H9EC;879AJE79JK7BBO7:C?D?IJ;H7DO

 C;:?97J?EDS?D:;;:J>?IM7I<79JK7BBO?CFEII?8B;8;97KI;J>;C;:?97J?ED?DGK;IJ?EDM7IDEJ;L;D

 ?DJ>;<79?B?JO7D:)I ';?J>7D:)I )?B;IAD;MJ>7J %DIJ;7: )I ';?J>;NFH;IIBO:;C7D:;:

 J>7J)I $EEF;HH;JKHD?CC;:?7J;BOJE9>7D=;J>;F7J?;DJWIH;9EH:IEJ>7JJ>;F7J?;DJMEKB:DEJ8;

 ?DJ>;H;: ? ; IEJ>7JJ>;H;9EH:MEKB:DEJI>EMJ>7JJ>;F7J?;DJ:?:DEJH;9;?L;>?IC;:?97J?ED

 M>;DJ>;IJ7J;?DIF;9J;:J>;<79?B?JOWIH;9EH:I 

               KJ )I  $EEF;H H;<KI;:  G"9 7,I,7 "9 7,I,7 >3,>I= 46602,6  .,889> /9

 >3,>H )I  $EEF;H H;F;7J;:  ;NFB7?D?D= J>7J I>; H;<KI;: JE <7BI?<O J>; F7J?;DJWI C;:?97B H;9EH:

 8;97KI;?JM7I7=7?DIJJ>;B7M 

               )I $EEF;HJEB:)I ';?J>7D:)I )?B;IJ>7J?JM7IG46602,6HJE<7BI;BO9;HJ?<OJ>7J

 I>;>7:=?L;D7F7J?;DJC;:?97J?EDI>;>7:DEJ7:C?D?IJ;H;: 

               )I $EEF;H;NFB7?D;:J>7JM>7JJ>;OM;H;7IA?D=>;HJE:ES<7BI?<OJ>7JF7J?;DJWI

 C;:?97BH;9EH:SM7I79H?C;?D1?H=?D?77D:I>;H;<KI;:JE9ECC?J79H?C;:;IF?J;J>;?HJ>H;7JI

 JE>;H@E87D:B?9;DI;?<I>;H;<KI;: 

               />;C;:?97J?ED?DGK;IJ?EDM7I/H7C7:EB 7>?=>BO9EDJHEBB;:.9>;:KB;%1:HK=



                                                     
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                  $OIJ;H?97B  )I  ';?J> ;I97B7J;: >;H L?B; J>H;7JI 7I I>; 7JJ;CFJ;: JE 9E;H9; )I

 $EEF;H?DJE8H;7A?D=J>;B7M7D:<7BI?<OJ>;F7J?;DJWIH;9EH:IE7IJE7LE?:O;J7DEJ>;H9?J7J?ED

 <HECJ>;IJ7J; 

                  )I ';?J>9</0<0/)I $EEF;HJE<7BI?<OJ>;F7J?;DJWIC;:?97BH;9EH:EH;BI;I>;

 MEKB:G=8,>.330<64.08=0HM>?9>I>;M7IJHO?D=JETFHEJ;9J U.;;B34-4> 

               =7?D )I $EEF;HH;<KI;: G"97,I,7"97,I,7'3,>I=46602,6H)I $EEF;H

 A;FJH;F;7J?D= H;?J;H7J?D=J>7JI>;M?BBDEJ9EC;879AJE<7BI?<O7F7J?;DJWIC;:?97BH;9EH: 

                  -;7B?P?D=>;H<H7K:KB;DJI9>;C;M7IFHEL?D=?D;<<;9J?L; )I ';?J>J;HC?D7J;:)I

 $EEF;H?DIJ7DJBO I7O?D= G98I>-9>30<.97482-,.598=4/0<C9?<=061>0<748,>0/H

                  J 7BB J?C;I H;B;L7DJ JE J>;I; <79JI  )I  ';?J> J>; +* 7D: )I  )?B;I J>;

 EHFEH7J;*KHI; M>EM;H;?DFEI?J?EDIE<9EDJHEB IKF;HL?I?ED C7D7=;C;DJ 7D:I;D?EH?JOEL;H

 )I  $EEF;H 7J J>; <79?B?JO  M;H; 79J?D= 7I 7=;DJI E< ;<;D:7DJI  I 7=;DJI E< ;<;D:7DJI  7BB

 ADEMB;:=; 8;BED=?D= JE  7D: 79J?ED 9ECC?JJ;: 8O  )I  ';?J> 7D: )I  )?B;I ?I ?CFKJ;: JE

  ;<;D:7DJI 

                  %CC;:?7J;BO <EBBEM?D= >;H J;HC?D7J?ED  )I  $EEF;H J;NJ;: ($-WI $KC7D

 -;IEKH9;IE<<?9;H I>B;O JEH;FEHJJ>;H;7IEDI>;M7IJ;HC?D7J;:7D:JE:;C7D:J>;<?L;

 8EDKI;II>;>7:;7HD;:8OMEHA?D=<?L;8EDKII>?<JIJ>7JF7OF;H?E: .;;B34-4> ($-

 H;<KI;:JEF7OJ>?I 8EDKI)I $EEF;H>7:;7HD;:8;97KI;?J9B7?C;:I>;H;<KI;:JEMEHA

 I>?<JI:KH?D=J>7JMEHAF;H?E: )I $EEF;HM7IFH;L;DJ;:<HECMEHA?D=J>EI;I>?<JI:K;JE>;H

 KDB7M<KBJ;HC?D7J?ED 

                  %DJ>;:7OII>EHJBO<EBBEM?D=)I $EEF;HWIIK::;DJ;HC?D7J?ED<EHH;<KI7BJE;D=7=;

 ?DKDB7M<KB9ED:K9J7D:9ECC?J79H?C; )I $EEF;HJ;NJ;:)I ';?J>I;L;H7BJ?C;I?D:?97J?D=

 >;H?DJ;DJ?EDJE7FFBO<EHKD;CFBEOC;DJ8;D;<?JI7D:7IA?D=M>7JH;7IEDI>;I>EKB:?D:?97J;<EH



                                                       
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 M>OI>;M7IJ;HC?D7J;:8O($- .;;B34-4> 2>?B;,B7?DJ?<<AD;M;N79JBOM>OI>;>7:

 8;;DJ;HC?D7J;:H;<KI?D=JE<7BI?<OJ>;H;9EH: ,B7?DJ?<<7IA;:JE<?D:EKJM>7JE<<?9?7BH;7IEDJ>;

 9ECF7DOM7I9B7?C?D=7IJ>;87I?I<EH>;HIK::;DJ;HC?D7J?ED 

             %D?J?7BBO )I ';?J>?=DEH;:)I $EEF;HWIJ;NJC;II7=;I 

             +DEH78EKJFH?B  )I ';?J><?D7BBOJ;NJ;:)I $EEF;H879A :?H;9J?D=

 >;HJETH;79>EKJJE4$-5H;=7H:?D=OEKHGK;IJ?ED4 5U%: 

             2>;D$-<?D7BBO97BB;:)I $EEF;HS7FFHEN?C7J;BOED;M;;A7<J;H>;HIK::;D

 J;HC?D7J?EDS$-7IA;:)I $EEF;HM>OI>;TGK?J U.>E9A;: )I $EEF;H;NFB7?D;:M>7J>7:

 79JK7BBO>7FF;D;:J>7JI>;>7:DEJGK?J 8KJH7J>;H>7:8;;D<?H;:EDJ>;F>ED;8O)I ';?J>7D:

 JEB:DEJJE9EC;879A<EHH;<KI?D=JE<7BI?<OJ>;F7J?;DJWIC;:?97BH;9EH: )I $EEF;H;NFB7?D;:

 JE$-J>7JM>7J)I ';?J>>7:7IA;:>;HJE:EM7I79H?C; 

             0FED >;7H?D= J>?I ?D<EHC7J?ED  $- 7IA;: )I  $EEF;H JE IK8C?J 7 IJ7J;C;DJ

 ;NFB7?D?D=M>7J>7:>7FF;D;: 

             +DEH78EKJFH?B  )I $EEF;HIK8C?JJ;:J>;H;GK;IJ;:IJ7J;C;DJB34-4>

 JE$-8O; C7?B 

                        *,20'301>F(8:,4/A,20=-98?=0=,8/48.08>4@0=

             )I $EEF;HM7I7D>EKHBO;CFBEO;;F7?:ED7D>EKHBO87I?I 

             )I  $EEF;H M7I F7?: >H <EH IJ7D:7H: >EKHI MEHA;: 7I 7 >7H=; *KHI; 7J

 ($- FBKI8;D;<?JI 

             )I $EEF;HM7IF7?:>H<EH7BB>EKHIMEHA;:F7IJ,);79>I>?<J >H<EH

 7BBM;;A;D:I>?<JI7D:>EKHIMEHA;:EL;H;79>I>?<J 7D:>H<EH>EKHIMEHA;:F7IJ,)ED

 M;;A;D:IEHI>?<JI:KH?D=M>?9>J?C;I>;M7II9>;:KB;:JE8;E<< />;I;>EKHBO8EDKI97J;=EH?;I

 7H;9ECCEDBOH;<;HH;:JE7ITI>?<J:?<<;H;DJ?7BI U



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Case 6:22-cv-00032-NKM-RSB Document 1 Filed 06/02/22 Page 17 of 24 Pageid#: 17




               I7D>EKHBO;CFBEO;; )I $EEF;HM7I;DJ?JB;:JE8;F7?: J?C;I>;HIJ7D:7H:

 >EKHBOH7J;<EH7BB>EKHIMEHA;:EL;H;79>M;;A 

               )I $EEF;HM7I7BIEFHEC?I;:7D7::?J?ED7B TH;J;DJ?ED8EDKIUJE8;F7?:

 EL;HJ>;<?HIJ;?=>JCEDJ>IE<>;HI;HL?9;7J($- I;;B34-4> 7IM;BB7I78EDKI<EH

 ;79>8EDKII>?<JI>;MEHA;::KH?D=7F7OF;H?E: 

                                    (8/0<:,C708>91#@0<>470*,20=

                 KH?D=J>;FH?B SFH?B F7OF;H?E: )I $EEF;HMEHA;: 

 >EKHI8?BB;:7J>H  >EKHI8?BB;:7J>H  >EKHI8?BB;:7J>H 7D: >EKHI

 8?BB;:7J>H .;;B34-4> .F;9?<?97BBO )I $EEF;HMEHA;:J>;<EBBEM?D=DKC8;HE<>EKHI

 EDJ>;<EBBEM?D=:7J;I

                  7  )ED:7O  >EKHI >H >H  8EDKII>?<J

                  8  /K;I:7O >EKHI>H >H  8EDKII>?<J

                  9  2;:D;I:7O  >EKHI >H >H 8EDKII>?<J

                  :  />KHI:7O >EKHI >H  >H 8EDKII>?<J

                  ;  .7JKH:7O  >EKHI>H  >H  8EDKII>?<J

                *;M2EHAM;;A         

                  <  .KD:7O  >EKHI >H >H  8EDKII>?<J 

               ;97KI; )I  $EEF;H MEHA;: 7 JEJ7B E<   >EKHI :KH?D= J>; FH?B    S

 FH?B  MEHAM;;A ($-M7IH;GK?H;:JEF7O>;H >EKHIE<EL;HJ?C;M7=;I7J 

 J?C;I>;HH;=KB7HH7J;E<F7O ($-79ADEMB;:=;:J>?I:KJO7D:F7?:)I $EEF;H<EH >EKHI

 E<EL;HJ?C;8KJF7?:>;H7JJ>;CK9>BEM;HH7J;E<>H H7J>;HJ>7DJ>;EL;HJ?C;H7J;JEM>?9>


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 I>;M7I;DJ?JB;: )I $EEF;HWI9EHH;9JEL;HJ?C;H7J;:KH?D=J>;FH?B SFH?B  

 MEHAM;;AM7I 3< 7D:?I97B9KB7J;:7I<EBBEMI

                7  )I $EEF;HMEHA;:7JEJ7BE< >EKHI>H >EKHI>H  

                     >EKHI>H 7D: >EKHI>H :KH?D=J>?IMEHAM;;A />?IH;IKBJI

                     ?DKDCE:?<?;:>EKHBOM7=;IE<  

                8  )I $EEF;H7BIEMEHA;:<?L;7::?J?ED7BI>?<JIJ>7J;DJ?JB;:>;HJE7D7::?J?ED7B

                     ;79> <EH7JEJ7BI>?<J8EDKIE<       J>?IMEHAM;;A

                9  )I $EEF;HM7I7BIEFHEC?I;:7H;J;DJ?ED8EDKIE< JE8;F7?:EL;HJ>;

                     <?HIJ  CEDJ>I   M;;AI E< I;HL?9; 7J ($-   />?I H;IKBJI ?D  

                     7JJH?8KJ;:JEJ>;FH?B SFH?B  MEHAM;;A

                :  ::?D=J>;I;97J;=EH?;IE<;7HD?D=IFHE:K9;IJEJ7B87I;M7=;IE<  

                ;    ?L?:?D=    8O J>;   JEJ7B >EKHI MEHA;: :KH?D= J>?I MEHAM;;A

                     FHE:K9;I7H;=KB7HH7J;E<F7OE<    

                <  />;H;<EH; )I $EEF;HWIEL;HJ?C;H7J;:KH?D=J>?IMEHAM;;AM7I 

                     N 7D:I>;M7I;DJ?JB;:JEH;9;?L;    ?DEL;HJ?C;M7=;I<EHJ>;I;

                      >EKHIH7J>;HJ>7DJ>;          J>7J($-F7?:>;H 

             ($-L?EB7J;:<;:;H7B7D:IJ7J;EL;HJ?C;B7MI8OF7O?D=)I $EEF;H7JJ>;CK9>

 BEM;HEL;HJ?C;H7J;E<>H H;IKBJ?D=?D7D9@0<>470?8/0<:,C708>91                 :KH?D=J>;

 FH?B SFH?B MEHAM;;A 

             ($-<KHJ>;HL?EB7J;:<;:;H7B7D:IJ7J;M7=;J>;<JB7MI8OH;<KI?D=JEF7O)I 

 $EEF;H J>;   ?D 8EDKI I>?<JI I>; MEHA;: :KH?D= J>; FH?B    S FH?B   

 MEHAM;;A 




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Case 6:22-cv-00032-NKM-RSB Document 1 Filed 06/02/22 Page 19 of 24 Pageid#: 19




                )I  $EEF;H ;7HD;:    :KH?D= J>; FH?B    S FH?B     F7O

 F;H?E:DEJ?D9BK:?D=>;HH;J;DJ?ED8EDKI7D:A9?6/3,@00,<80/                    3,/ %89>

 ?86,A1?66C >0<748,>0/ 30<  FH;L;DJ?D= >;H <HEC 9ECFB;J?D= >;H I;9ED: MEHAM;;A M?J>?D J>;

 F;H?E: 

                )I $EEF;HWI;7HD?D=I;GK7J;JE  F;HO;7H FBKI>;H H;J;DJ?ED

 8EDKI O?;B:?D=>9>,6,88?,60,<8482=91    

     )        (&&#'#"

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                   )496,>49891,4< ,-9<&>,8/,</=.> (&E  0>=0;
                 (8/0<:,C708>91#@0<>470%01?=,6>9$,C       ,<80/98?=

               ,B7?DJ?<< H; 7BB;=;I 7D: ?D9EHFEH7J;I 8O H;<;H;D9; F7H7=H7F>I   7I ?< <KBBO I;J

 <EHJ>>;H;?D 

               O L?HJK; E< J>; 79JI :;I9H?8;: 78EL;  ;<;D:7DJI ADEM?D=BO F7?: )I  $EEF;H

   B;II?DEL;HJ?C;M7=;IJ>7DI>;M7I;DJ?JB;:JEH;9;?L; 

               OL?HJK;E<J>;79JI:;I9H?8;:78EL;  ;<;D:7DJI7BIEADEM?D=BOH;<KI;:JEF7O

 )I $EEF;H ?D8EDKII>?<JM7=;IJ>7JI>;M7I;DJ?JB;:JEH;9;?L; 

               0D:;H0 .  Q8E<J>;"(. ($-?IB?78B;JE)I $EEF;H?DJ>;7CEKDJ

 E<   FBKI7D7::?J?ED7B  ?DB?GK?:7J;::7C7=;I 

               0D:;H0 .  Q8E<J>;"(. ($-?I7BIEB?78B;JEF7OJ>;7JJEHD;O<;;I

 7D:9EIJI)I $EEF;H?D9KHH;:FKHIK?D=7H;C;:O?DJ>?IC7JJ;H 




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           ,B7?DJ?<<H; 7BB;=;I7D:?D9EHFEH7J;I8OH;<;H;D9;F7H7=H7F>I 7I?<<KBBOI;J

 <EHJ>>;H;?D 

           OL?HJK;E<J>;79JI:;I9H?8;:78EL;  ;<;D:7DJIADEM?D=BOM?J>>;B:  

 ?DM7=;IJ>7J)I $EEF;H;7HD;:M>?B;I;HL?D=7I7D;CFBEO;;E<($- 

           0D:;H17 E:;DD Q  & )I $EEF;H?I;DJ?JB;:JEH;9EL;H<HEC($-

 7C?D?CKCE<  FBKI7D7::?J?ED7B  ?DB?GK?:7J;::7C7=;I FBKIFH;@K:=C;DJ7J

 7BED=M?J>J>;7JJEHD;O<;;I7D:9EIJII>;?D9KHH;:FKHIK?D=7H;C;:O?DJ>?IC7JJ;H 

           $EM;L;H 8;97KI;($-ADEM?D=BO<7?B;:JEF7O)I $EEF;H?D799EH:7D9;M?J>

 IJ7J; B7M  ($- ?I B?78B; JE )I  $EEF;H <EH JH?FB; J>; 7CEKDJ E< M7=;I :K;     FBKI

 FH;@K:=C;DJ7J7BED=M?J>J>;7JJEHD;O<;;I7D:9EIJII>;?D9KHH;:FKHIK?D=7H;C;:O?DJ>?I

 C7JJ;H 

           ($-79J;:VADEM?D=BOW8;97KI;?J>7:79JK7BADEMB;:=;E<J>;>EKHI)I $EEF;H

 MEHA;: J>;I>?<J:?<<;H;DJ?7BII>;;7HD;: J>;H;J;DJ?ED8EDKII>;H;9;?L;: 7D:J>;8EDKII>?<JI

 I>;MEHA;::KH?D=J>;FH?B SFH?B  MEHAM;;A7D:AD;M?JM7IH;GK?H;:JEF7O

 )I $EEF;H?D9ECFB?7D9;M?J>EL;HJ?C;B7MI 

           ($-?IJ>;H;<EH;B?78B;JE)I $EEF;H<EH      FBKI

 ?DJ;H;IJ<HECFH?B  7BED=M?J>J>;7JJEHD;O<;;I7D:9EIJII>;?D9KHIFKHIK?D=7H;C;:O

 ?DJ>?IC7JJ;H 

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           ,B7?DJ?<< H; 7BB;=;I 7D: ?D9EHFEH7J;I 8O H;<;H;D9; F7H7=H7F>I   7I ?< <KBBO I;J

 <EHJ>>;H;?D 

           OL?HJK;E<J>;79JI:;I9H?8;:78EL;  ;<;D:7DJIH;J7B?7J;:7=7?DIJ)I $EEF;H?D

 L?EB7J?EDE<17 E:;Q   M>;DJ>;OJ;HC?D7J;:>;H;CFBEOC;DJ8;97KI;I>;H;<KI;:JE

 ;D=7=;?DED;EHCEH;9H?C?D7B79JIJ>7JMEKB:>7L;IK8@;9J;:>;HJE9H?C?D7BB?78?B?JO>7:I>;

 9ECFB?;:M?J>>;H;CFBEO;HWI:;C7D: 

           0D:;H 17  E:; Q      )I  $EEF;H ?I ;DJ?JB;: JE H;?DIJ7J;C;DJ 

 9ECF;DI7J?ED<EHM7=;I7D:8;D;<?JII>;BEIJ<EBBEM?D=>;HKDB7M<KBJ;HC?D7J?ED 7BED=M?J>FH;

 @K:=C;DJ?DJ;H;IJE< 7JJEHD;O<;;I 7D:9EIJI 

           )I  $EEF;H >7I BEIJ    :KH?D= J>;  :7OI I?D9; I>; M7I KDB7M<KBBO

 J;HC?D7J;:EDFH?B  7D:M?BB9EDJ?DK;JEBEI;M7=;I7J7D7DDK7BH7J;E<  F;H

 O;7HKDJ?BI>;?IH;?DIJ7J;:JE>;H<EHC;HFEI?J?ED 7BED=M?J>7DOH7?I;II>;MEKB:>7L;;7HD;:8KJ

 <EHJ>;KDB7M<KBJ;HC?D7J?ED )I $EEF;H?I7BIE;DJ?JB;:JE9ECF;DI7J?ED<EH7BB8;D;<?JII>;BEIJ

 7I7H;IKBJE<8;?D=KDB7M<KBBOJ;HC?D7J;: 

           ($-?IJ>;H;<EH;B?78B;JE)I $EEF;H<EH   FBKI?DJ;H;IJ<HECFH?B

   7BED=M?J>7BB7::?J?ED7BM7=;II>;BEI;I8;JM;;D&KD;  7D:J>;:7J;@K:=C;DJ

 ?I;DJ;H;:FBKIJ>;7JJEHD;O<;;I7D:9EIJII>;?D9KHIFKHIK?D=7H;C;:O?DJ>?IC7JJ;H 

                                              #("')
              *<9821?64=.3,<20?8/0<)4<2484,97798 ,A9A7,86,47
                                                    
           ,B7?DJ?<< H; 7BB;=;I 7D: ?D9EHFEH7J;I 8O H;<;H;D9; F7H7=H7F>I   7I ?< <KBBO I;J

 <EHJ>>;H;?D 




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           O L?HJK; E< J>; 79JI :;I9H?8;: 78EL;  ;<;D:7DJI EH:;H;: ,B7?DJ?<< JE 9>7D=; 7

 F7J?;DJWIC;:?97BH;9EH:JE<7BI;BO?D:?97J;I>;>7:7:C?D?IJ;H;:C;:?97J?EDJEJ>;F7J?;DJJ>7JI>;

 DEJEDBO:?:DEJ7:C?D?IJ;H 8KJJ>7JM7IDEJ;L;DFH;I;DJ?DJ>;<79?B?JOEDJ>;:7J;?DGK;IJ?ED 

               ;<;D:7DJI AD;M ,B7?DJ?<< >7: DEJ 7:C?D?IJ;H;: J>?I C;:?97J?ED 8KJ EH:;H;:

 ,B7?DJ?<<JE<7BI?<OJ>;F7J?;DJWIC;:?97BH;9EH:7D:<7BI;BO9;HJ?<OJ>7JI>;>7:7:C?D?IJ;H;:J>;

 C;:?97J?EDJE>?C 

           ,B7?DJ?<<>7:7:KJOJE9ECFBOM?J>J>;B7M7D:M?J>H;=KB7J?EDI:;I?=D;:JEFHEJ;9J

 F7J?;DJ>;7BJ>7D:I7<;JO ?D9BK:?D=17 E:;Q    M>?9>C7A;I?J79H?C;JE<7BI?<OF7J?;DJ

 C;:?97BH;9EH:I7I ;<;D:7DJI>7:EH:;H;: 

           ,B7?DJ?<< 7BIE >7: 7 :KJO JE H;<KI; JE 9EDIF?H; M?J> ;<;D:7DJI JE <7BI?<O F7J?;DJ

 C;:?97BH;9EH:I?DEH:;HJE<H7K:KB;DJBOC7?DJ7?DJ>;<79?B?JOWI;B?=?8?B?JO<EH=EL;HDC;DJB?9;DI?D=

 7D:EH EJ>;H =EL;HDC;DJ FHE=H7CI  />?I :KJO 7H?I;I KD:;H 17  E:; QQ       M>?9>

 9H?C?D7B?P;I 9EDIF?H79O EH 7JJ;CFJ JE 9ECC?J 7 9H?C?D7B E<<;DI;  17  E:; Q     M>?9>

 9H?C?D7B?P;IC7A?D=<7BI;IJ7J;C;DJIJEJ>;=EL;HDC;DJEHE7H:E<$;7BJ> 7D:0 .  Q

  M>?9>C7A;I?J7<;:;H7BE<<;DI;JE9ECC?J>;7BJ>97H;<H7K:8OC7A?D=<7BI;IJ7J;C;DJIJE

 H;9;?L;CED;OEHFHEF;HJO<HECJ>;=EL;HDC;DJ<EHM>?9>ED;?IDEJ;B?=?8B; 

           ,B7?DJ?<<H;<KI;:JE9ECFBOM?J>J>;KDB7M<KBEH:;HI>;M7I=?L;D8O ;<;D:7DJI

 8;97KI; I>; MEKB: >7L; 9ECC?JJ;: ED; EH CEH; 9H?C;I >7: I>; <7BI;BO 9;HJ?<?;: J>7J I>; >7:

 7:C?D?IJ;H;:J>;C;:?97J?ED 

               ;<;D:7DJIJ;HC?D7J;:,B7?DJ?<<7I7:?H;9J7D:97KI7BH;IKBJE<H;<KI?D=JEL?EB7J;

 J>;B7M 




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           I7H;IKBJE<J>?IKDB7M<KBJ;HC?D7J?ED ,B7?DJ?<<?I;DJ?JB;:JE   FBKI

 ?DJ;H;IJ<HECFH?B  7BED=M?J>7BB7::?J?ED7BM7=;II>;BEI;I8;JM;;D&KD;  7D:

 J>;:7J;@K:=C;DJ?I;DJ;H;:FBKI7BB9EIJII>;?D9KHIFKHIK?D=7H;C;:O?DJ>?IC7JJ;H 

           ,B7?DJ?<<?I7BIE;DJ?JB;:JEFKD?J?L;:7C7=;IE<KFJE KD:;HEMC7DL 

 .J7J; 7DA E< ';OIL?BB;   17    7D: J>; 9ECCED B7M E< J>; ECCEDM;7BJ> E<

 1?H=?D?7 

     ) $%+%#%% 

         *%#%  ,B7?DJ?<< )I  $EEF;H FH7OI J>7J @K:=C;DJ 8; ;DJ;H;: ?D >;H <7LEH 7D:

 7=7?DIJJ>; ;<;D:7DJI7I<EBBEMI

         7      />7J ;<;D:7DJIF7O,B7?DJ?<<9ECF;DI7JEHO:7C7=;I<EHKD:;HF7OC;DJE<M7=;I

 ?DJ>;7CEKDJE<   FBKI7D7::?J?ED7B  ?DB?GK?:7J;::7C7=;IEH  ?<

 J>;EKHJ>EB:I ;<;D:7DJIWL?EB7J?EDM?BB<KB 7BB7J?DJ;H;IJ<HECFH?B  KDJ?BF7?:

         8      />7J,B7?DJ?<<8;H;?DIJ7J;:JE>;HFEI?J?ED7I7>7H=;*KHI;7J($-EH8;F7?:

 7D7FFHEFH?7J;7CEKDJ?D<HEDJ F7O?DB?;KE<H;?DIJ7J;C;DJ

         9      />7J ;<;D:7DJI F7O 9ECF;DI7JEHO :7C7=;I <EH BEIJ M7=;I ?D J>; 7CEKDJ E<

    FBKI   F;H:7OKDJ?B,B7?DJ?<<?IH;?DIJ7J;: 7BB7J?DJ;H;IJ

 <HECFH?B  KDJ?BF7?:

         :      />7J ;<;D:7DJI F7O FKD?J?L; :7C7=;I ?D 7D 7CEKDJ DEJ JE ;N9;;:  

 FKHIK7DJJEEMC7DL .J7J;7DAE<';OIL?BB; 17 7D:J>;9ECCEDB7ME<J>;

 ECCEDM;7BJ>E<1?H=?D?7 

         ;      />7J,B7?DJ?<<8;7M7H:;:7BBH;7IED78B;7JJEHD;O<;;I7D:9EIJI FKHIK7DJJEJ>;"7?H

 (78EH .J7D:7H:I 9J   0 .   Q  ;J I;G  17  E:; DD  Q     7D: 17  E:; DD 

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        <       />7J,B7?DJ?<<8;7M7H:;:FEIJ @K:=C;DJ?DJ;H;IJ7D:

        =       />7JJ>;EKHJ7M7H:IK9>EJ>;H7D:<KHJ>;HH;B?;<7I?I@KIJ ;GK?J78B; 7D:FHEF;H 

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 )?73K=E1.*E 
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 +  $ 
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 -E7DEA; 1?H=?D?7
 /;B 
   ?H;9J 
 C?7OK=E9EBB?DI 9EC
 9>H?IOK=E9EBB?DI 9EC
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